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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT 2 22 OEC                -8 Pt1 fl: 2
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UNITED STATES OF AMERICA ·                            )
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                                                                        BYli~       - r.-.L-E--
               V.                                     )       Criminal No. 2:22--cr--94
                                                      )
FREDRICK CAMPBELL II, aka "Momo," and                 )
JASON SICEL Y, aka "Jay,"                             )
     Defendants.

                      MOTION TOP ARTIALLY SEAL INDICTMENT

       The United States of America, by and through its attorney, Nikolas P. Kerest, United

States Attorney for the District of Vermont, moves the Court to seal the Superseding Indictment,

and this motion, in this case. The government requests a redacted copy of the Superseding

Indictment be filed as to FREDRICK CAMPBELL II, aka "Momo," who is currently on pretrial

conditions ofrelease. The other defendant, JASON SICEL Y, aka "Jay," has not been arrested

and is presently at liberty. Sealing these documents will protect the safety of the arresting

officers and ensure the defendant does not flee.

       WHEREFORE, the United States requests that the Court grant this motion to seal the

Superseding Indictment, this motion, the arrest warrant and authorize the filing of a redacted

copy of the Superseding Indictment until such time as defendant JASON SICEL Y has been

arrested, at which time all documents shall be unsealed.
Dated at Burlington, in the District ofVer.mont, this 8th day of December, 2022.

                                             Respectfully submitted,

                                             UNITED STATES OF AMERICA

                                             NIKOLAS P. KEREST
                                             United States Attorney




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